                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

        Plaintiff,

 v.                                                        Case No. 1:25-cv-00916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

        Defendants.


                                  JOINT STATUS REPORT

       The parties respectfully submit this Joint Status Report (“JSR”) to set a briefing schedule:

       1.      The parties have met and conferred and are in agreement that this Court should

proceed to expedited dispositive motions briefing. Plaintiff intends to move for summary

judgment. Defendants also intend to file a dispositive motion.

       2.      The parties respectfully propose the following briefing schedule:

       Dispositive Motions and Opening Briefs                April 8, 2025

       Amicus Briefs (in support of either side)             April 11, 2025

       Opposition Briefs                                     April 17, 2025

       Oral Argument (if helpful to the Court)               April 21, 2025 (or as soon thereafter
                                                             as counsel may be heard)

       3.      The parties have agreed that they do not anticipate needing discovery in this case

and that no party will request discovery in connection with the above-referenced dispositive

motions.

       4.      All parties have also agreed to extend the injunctive relief issued by this Court on

March 28, 2025, until final judgment. See Fed. R. Civ. P. 65(b)(2).
       5.     Based on these agreements, the parties have attached a proposed order governing

further proceedings.

 Dated: March 31, 2025                             Respectfully submitted,

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